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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1130V
                                        (not to be published)


    ANGELA BEASLEY,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: August 13, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Milton Clay Ragsdale, IV, Ragsdale LLC, Birmingham, AL, for Petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

      On August 2, 2018, Angela Beasley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration as a result of an influenza and tetanus diphtheria acellular pertussis
vaccinations. (Petition at 1). On January 15, 2020, a decision was issued awarding
compensation to Petitioner based on the parties’ stipulation. (ECF No. 32).




1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated June 15,
2020, (ECF No. 37), requesting a total award of $25,987.75 (representing $25,186.50 in
fees and $801.25 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that she incurred no out-of-pocket expenses. (ECF No. 37-
5). Respondent reacted to the motion on June 15, 2020, representing that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case, and deferring to my discretion to determine the amount to be awarded. (ECF No.
38). Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s requests and find a
reduction in the amount of fees to be awarded appropriate for the reasons listed below.

                                       ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (2011).

       The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. at 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s
fees and costs sought] at the time of the submission.” Id. at 484 n.1. Petitioner’s counsel
“should make a good faith effort to exclude from a fee request hours that are excessive,
redundant, or otherwise unnecessary, just as a lawyer in private practice ethically is
obligated to exclude such hours from his fee submission.” Hensley, 461 U.S., at 434.



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                                           ATTORNEY FEES

                  A. Hourly Rates

       Petitioner requests the following rates of compensation for the work of her
attorneys: for Mr. Milton Ragsdale, $385 for work performed in 2016, $400 per hour for
work performed in 2017, $420 per hour for work performed in 2018, $440 per hour for
work performed in 2019, and $460 per hour for work performed in 2020; for Ms. Allison
Riley, $270 per hour for work performed in 2017, $290 per hour for work performed in
2018, $305 per hour for work performed in 2019, and $340 per hour for work performed
in 2020; and rates of $135 - $155 per hour for all paralegal work performed, based on
year billed. (ECF No. 37 at 2-3). The 2017 - 2019 rates requested Ms. Riley and for the
paralegal work are consistent with what they have previously been awarded, and I find
no cause to reduce them in this instance. However, I will make an adjustment for Mr.
Ragsdale’s requested rates for 2018 - 2020, and Ms. Riley’s requested rate increase for
2020.

                          i.      Milton C. Ragsdale, VI

        Mr. Ragsdale’s requested rates for 2018 and 2019 exceed what has been
previously awarded for his billable time. See, e.g., See Douglas v. Sec’y of Health &
Human Servs., No. 14-1226V, 2019 WL 3814396 (Fed. Cl. Spec. Mstr. Jul. 25, 2019). It
is not the practice in the Vaccine Program to retroactively increase rates previously
awarded in the Program, or to deviate from prior rate awards simply because a petitioner
happens to ask for a higher rate in a subsequent case. I therefore reduce Mr. Ragsdale’s
rates for 2018 to the previously-awarded rate of $410.00 per hour, and for 2019 to the
rate of $420 per hour. This results in a reduction in total fees to be awarded of $138.00. 3

        The requested rate for Mr. Ragsdale’s 2020 work is within the appropriate
experience range utilized by the Office of Special Masters, 4 but slightly exceeds what
would be an appropriate increase. Rather, relying on the factors set forth in McCulloch v.
Health and Human Services, No. 09–293V, 2015 WL 5634323 at *17 (Fed. Cl. Spec.
Mstr. Sept. 1, 2015) (experience in the Vaccine Program, overall legal experience, the
quality of work performed, and the reputation in the legal community and community at
large), the lesser increase of $430 per hour is more appropriate for his time billed in 2020,

3This amount consists of ($420 - $410 = $10 x 3.4 hrs = $34) + ($440 - $420 = $20 x 5.2 hrs = $104) =
$138.
4
    The Attorneys’ Fee Schedule for 2020 is available at http://www.uscfc.uscourts.gov/node/2914.

                                                     3
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and also more consistent with the magnitude of prior increases. This reduces the attorney
fees to be awarded in this case by the amount of $30.00. 5

                          ii.     Allison Riley

       Just as with Mr. Ragsdale, Ms. Riley’s requested rate for 2020 is excessive in
comparison to the previously awarded amounts she has been awarded. Ms. Riley has
been a licensed attorney since 2011, placing her in the range of attorneys with 8-10 years’
experience for 2020. To date she has not been the attorney of record in any case in the
Vaccine Program, however, and has only gained experience as an associate of Mr.
Ragsdale. Because of this, and the factors of McCullough as applied to Ms. Riley, I would
consider the hourly rate of $325 more consistent with Ms. Riley’s experience level. This
reduces the attorneys’ fees to be awarded in this case in the amount of $24.00. 6

                                          ATTORNEY COSTS

      Petitioner requests $801.25 in overall costs. (ECF No. 37 at 3). This amount is
comprised of obtaining medical records, pacer fees and the Court’s filing fee. I have
reviewed all of the requested costs and find them to be reasonable and shall award it in
full.

                                             CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs,
awarding a total of $25,795.75 (representing $24,994.50 in fees and $801.25 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 7

IT IS SO ORDERED.

                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master

5   This amount consists of $460 - $430 = $30 x 1 hrs = $30.00.

6   This amount consists of $340 - $325 = $15 x 1.6 hrs = $24.00

7 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                     4
